                 IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


Food Lion, LLC, and Maryland and Virginia
Milk Producers Cooperative Association, Inc.,

                     Plaintiffs,
v.                                                     Case No. 1:20-cv-00442
Dairy Farmers of America, Inc.,

                     Defendant.



            DEFENDANT DAIRY FARMERS OF AMERICA, INC.’S
           MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
     FOR LACK OF SUBJECT-MATTER JURISDICTION AND FAILURE TO
         STATE A CLAIM UPON WHICH RELIEF CAN BE GRANTED


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                NATURE OF THE MATTER BEFORE THE COURT

       On May 19, 2020, after failing to convince the Bankruptcy Court for the Southern

District of Texas (“Bankruptcy Court”) to block the sale of certain Dean Foods Company

(“Dean”) processing plants to Dairy Farmers of America, Inc. (“DFA”), Plaintiffs—Food

Lion, LLC (“Food Lion”) and Maryland and Virginia Milk Producers Cooperative

Association, Inc. (“MDVA”)—filed a Complaint seeking to undo this acquisition under

Section 7 of the Clayton Act and Section 2 of the Sherman Act. The thrust of Plaintiffs’

Complaint is that DFA’s acquisition of bankrupt Dean’s three processing plants in North

and South Carolina (the “Carolina Plants”) might, in 2021, prevent MDVA from competing

to supply those plants with raw milk, and that as a result of MDVA hypothetically not

gaining that business, Food Lion might not receive as low prices as it would like for future

purchases of processed fluid milk (“Processed Milk”) from the Carolina Plants.

       The Complaint concedes that these future harms have not yet occurred. In fact,

competition remains unaffected in the market: the Carolina Plants still process raw milk

from DFA (as they did prior to DFA’s acquisition of these plants); MDVA still sells its raw

milk to processors other than Dean or DFA; and Food Lion still purchases its Processed

Milk from processors other than Dean or DFA. Accordingly, Plaintiffs have not suffered

the requisite “injury-in-fact” for Article III standing.

       Just as the Complaint fails to establish Article III standing for purposes of subject-

matter jurisdiction, it also fails to state a viable antitrust claim. It does not establish the

critical element of “antitrust injury”—injury to competition—but instead reveals that



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MDVA, a failed bidder, is complaining only of increased competition, while Food Lion

alleges no cognizable injury under the antitrust laws.

       The Complaint is further foreclosed by the Failing Company Doctrine. That

doctrine permits the acquisition of a failing firm when there are no other reasonable

alternatives, on the theory that the continued operation of the failing firm (even by a

competitor) causes less harm than any alleged anticompetitive effects.       The Failing

Company Doctrine applies here because DFA’s acquisition was authorized and overseen

by the Bankruptcy Court, during which that court made factual findings that establish this

defense.

       Finally, the Complaint alleges an implausible geographic market that imagines

Georgia and Virginia do not exist. The Complaint suggests that North and South Carolina,

bounded by “the Atlantic Ocean to the East and the Appalachian Mountains to the West,”

Complaint [ECF 1] ¶23, exist as a combined island. This not only defies common sense

but is contradicted by the Government’s own regulation of the market, and Food Lion’s

claims in other cases.

                               STATEMENT OF FACTS

       DFA is a nation-wide cooperative of more than 14,000 dairy farmers. ECF 1 ¶3.

According to the Complaint, for nearly twenty years DFA maintained a contractual

relationship with Dean to supply raw milk for processing into Processed Milk. MDVA,

which is also a cooperative of farmers producing raw milk, alleges that since 2019 it has

not sold any raw milk to the Carolina Plants. ECF 1 ¶62. Although Plaintiffs spend pages



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alleging prior wrongdoing by both DFA and Dean, they do not challenge or seek relief for

the actual agreements that presently (or previously) operate in the market. Rather, the

Complaint alleges without explanation that, because of the sale of the Carolina Plants to

DFA, “MDVA is at serious risk of soon losing access” to one processing facility (Hunter

Farms) that is not owned by Dean or DFA. ECF 1 ¶74. It also complains that other options

may not be ideal because of distance or inferior facilities. ECF 1 ¶¶74, 76. The Complaint

alleges that “MDVA was relying heavily on the prospect of competing for access to Dean

plants in the Carolinas” in 2021, when it says the contractual agreements between Dean

and DFA will expire. ECF 1 ¶78.

      As for Food Lion, the Complaint alleges that Food Lion’s present sources of

Processed Milk, MDVA and Kroger’s Hunter Farms, are not “economical long-term

source[s]” or “solution[s].” ECF 1 ¶83. Food Lion further alleges that sourcing Processed

Milk from other plants, including MDVA plants, imposes higher transportation costs or is

too “difficult to predict” for “long-term viability.” ECF 1 ¶85. Thus, Food Lion complains

that “once the effects of the Asset Sale set in,” it will have “no viable, long-term

alternative” but to purchase product from the Carolina Plants at what it claims will be

“supra-competitive” prices. Id.

      The sale of Dean’s assets occurred in the context of a fair, open, and transparent sale

process overseen by the Bankruptcy Court in Deans’ bankruptcy. Food Lion was not a

bidder in that process, and MDVA bid only on the plant in High Point, North Carolina.

ECF 1 ¶87. DFA was “[t]he only party that submitted a bid for the vast majority of the



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Debtors’ plants and related assets…” See Defendant’s Motion to Dismiss (“Mot.”), at

Exhibit A (Case 19-36313 (Bankr. S.D. Tex.) (“Bankr. Ct. Dkt.”), ECF 1514-1) (“Ex. A”)

at ¶15.

          Food Lion and MDVA both participated in the bankruptcy process, including

making their positions known at hearings.         Food Lion’s counsel explained to the

Bankruptcy Court that Food Lion was working with the Department of Justice regarding

their antitrust concerns (see Mot. at Exhibit B (Transcript of March 12, 2020 Hearing

before Bankruptcy Court, Bankr. Ct. Dkt. ECF 1145), at 86:12-17), and MDVA also

explained some of its objections to the court (see id. at 39:23-43:7). In support of an

emergency motion to be permitted to file an antitrust suit to enjoin DFA’s acquisition of

the Carolina Plants, Plaintiffs argued that they would not be able to successfully challenge

the acquisition in this Court after the acquisition closed because, under the antitrust laws,

“no private party has ever succeeded in obtaining and enforcing equitable relief unwinding

a consummated merger.” Mot. at Exhibit C (Bankr. Ct. Dkt. ECF 1816) (“Ex. C”) at ¶17.

The Bankruptcy Court denied Plaintiffs’ objections and motion, decisions Plaintiffs did not

appeal. See Mot. at Exhibit D (Bankruptcy Court Sale Order, Bankr. Ct. Dkt. ECF 1572)

(“Ex. D”) at 14, ¶1; Mot. at Exhibit E (Transcript of April 28, 2020 Hearing before

Bankruptcy Court, Bankr. Ct. Dkt. ECF 1883) at 79:25-80:19. The Department of Justice




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resolved the relevant antitrust issues to its satisfaction 1 and closed its investigation into the

acquisition. Plaintiffs then instituted this lawsuit.

                                QUESTIONS PRESENTED

1.       Does this Court have subject matter jurisdiction where Plaintiffs lack Article III
         standing due to the Complaint’s speculative allegations and failure to allege
         certainly impending injury?

2.       Do Plaintiffs have antitrust standing where the Complaint alleges only speculative
         injuries that are not of the type the antitrust laws were intended to prevent?

3.       Are Plaintiffs’ speculative allegations about future potential anticompetitive harm
         posed by this presumptively procompetitive and lawful vertical merger sufficient to
         state a claim under Section 7 of the Clayton Act?

4.       Did Dean face the grave probability of a business failure and try and fail to secure
         an alternative purchaser, such that the Failing Company Doctrine supplies a
         complete defense to Plaintiffs’ Section 7 claim, even assuming Plaintiffs’
         speculative allegations do not otherwise defeat their claims?

5.       Does the Complaint fail to plead a plausible relevant geographic market where
         Plaintiffs’ allegations, as pleaded here and as argued by Food Lion in previous
         litigation, as well as their own dairy operations, support a market much broader
         than North and South Carolina?




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       The Department of Justice filed its Proposed Final Judgment, which involved the
voluntary divestiture of three plants in Illinois, Wisconsin, and Massachusetts. See Mot.
at Exhibit F (May 1, 2020 Department of Justice Press Release); Exhibit G (Proposed Final
Judgement filed in United States of America, et al. v. Dairy Farmers of America, Inc., et
al., Case 1:20-cv-02658 (N.D. Ill.), ECF 4-2).


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                                      ARGUMENT

I.     STANDARD OF REVIEW

                               Subject-Matter Jurisdiction

       “Subject matter jurisdiction is a ‘threshold matter’ courts must address before

making any decision on the merits of a case.” Shaughnessy v. Duke Univ., Private

Diagnostic Clinic, PLLC, No. 1:18-CV-461, 2018 U.S. Dist. LEXIS 196355, at *3

(M.D.N.C. Nov. 19, 2018). Plaintiffs bear the burden of establishing standing. Richmond,

Fredericksburg & Potomac R.R. Co. v. United States, 945 F.2d 765, 768 (4th Cir. 1991).

They “must include the necessary factual allegations in the pleading, or else the case must

be dismissed for lack of standing” under Rule 12(b)(1). Bishop v. Bartlett, 575 F.3d 419,

424 (4th Cir. 2009). When deciding whether subject matter jurisdiction exists, “the district

court is to regard the pleadings’ allegations as mere evidence on the issue, and may consider

evidence outside the pleadings without converting the proceeding to one for summary

judgment.” Richmond, 945 F.2d at 768.

                                 Failure to State a Claim

       To survive a motion to dismiss, a plaintiff must allege “enough facts to state a claim

to relief that is plausible on its face.” Giarratano v. Johnson, 521 F.3d 298, 302 (4th Cir.

2008) (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)) (emphasis in original).

The factual allegations “must be enough to raise a right to relief above the speculative

level.” Twombly, 550 U.S. at 555. The Court assumes the complaint’s well-pleaded facts

are true and draws all reasonable factual inferences from the pleadings in the plaintiff’s




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favor. Edwards v. City of Goldsboro, 178 F.3d 231, 243 (4th Cir. 1999). The Court need

not, however, accept as true factual allegations “that are merely conclusory, unwarranted

deductions of fact, or unreasonable inferences.” Veney v. Wyche, 293 F.3d 726, 730 (4th

Cir. 2002). In determining whether a claim is plausible, courts take into account whether

the claim is internally inconsistent. See Iselin v. Bama Cos., 690 F. App’x 593, 598 (10th

Cir. 2017) (affirming dismissal of claim as failing to raise the right to relief above the

speculative level because allegations were, inter alia, internally inconsistent).

II.    THE COMPLAINT’S SPECULATIVE ALLEGATIONS FAIL TO
       ESTABLISH ARTICLE III STANDING, ANTITRUST INJURY, OR
       HARM TO COMPETITION.

       A.     The Complaint Fails to Meet the Injury-in-Fact Requirement for
              Article III Standing.

       To establish Article III standing, a plaintiff must show, inter alia, that it suffered an

“injury in fact.” Dreher v. Experian Info. Sols., Inc., 856 F.3d 337, 343 (4th Cir. 2017).

Injury in fact is “‘an invasion of a legally protected interest’ that is ‘concrete and

particularized’ and ‘actual or imminent, not conjectural or hypothetical.’”            Beck v.

McDonald, 848 F.3d 262, 270 (4th Cir. 2017) (quoting Spokeo, Inc. v. Robins, 136 S. Ct.

1540, 1548 (2016)).       “Allegations of possible future injury” are insufficient; the

“threatened injury must be certainly impending to constitute injury in fact.” Clapper v.

Amnesty Int’l USA, 568 U.S. 398, 409 (2013) (quoting Whitmore v. Arkansas, 495 U.S.

149, 158 (1990)).

       Plaintiffs’ Complaint fails to allege any “certainly impending” injury. The Fifth

Circuit’s decision in Sureshot Golf Ventures v. Topgolf Int’l, Inc., 754 F. App’x 235, 241


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(5th Cir. 2018), is instructive. In that case, Sureshot had entered into a long-term supply

agreement for golf shot-tracking technology. Sureshot’s competitor, Top Golf, acquired

the supplier of the shot-tracking technology. Top Golf allegedly refused to provide

Sureshot assurances that it would renew the supply agreement when it expired and told

Sureshot it should consider other options. Sureshot brought claims under Sections 1 and 2

of the Sherman Act, and Section 7 of the Clayton Act, based on a market foreclosure theory.

The Fifth Circuit affirmed the district court’s conclusion that Sureshot’s allegations did not

amount to “certainly impending” injury sufficient to establish subject matter jurisdiction,

and concluded that the market foreclosure harms alleged by Sureshot were “speculative.”

Id. at 241.

        Plaintiffs’ allegations of harm and foreclosure here are more speculative than those

in Sureshot. Whereas Sureshot had an existing contract with the acquired company, MDVA

admits that it does not currently supply the Carolina Plants acquired by DFA. ECF 1 ¶¶62,

78. Rather, MDVA supplies raw milk to three other processors in the Carolinas, and alleges

only that this is “not sustainable in the long term.” ECF 1 ¶73. Accordingly, MDVA

admits that it will not be harmed until 2021 at the earliest, when it assumes it will not have

an anticipated “opportunity to compete” to supply the Carolina Plants. ECF 1 ¶¶47, 101,

104.    In short, MDVA’s alleged injury is contingent on at least four speculative

assumptions: (1) MDVA will lose its current supply contracts with other processors; (2) in

2021, MDVA would have had an opportunity to compete to supply the Carolina Plants;

(3) in 2021, MDVA would have been successful in its bid to supply the Carolina Plants;



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and (4) because of DFA’s acquisition of the Carolina Plants, MDVA’s opportunity to

supply these plants is foreclosed. This is not “certainly impending” injury that is sufficient

to show injury in fact.

         In addition to the same speculative causal chain identified above, Food Lion’s

claimed injury relies on two more assumptions: (1) DFA’s acquisition of the Carolina

Plants will have a price effect and (2) Food Lion will be forced in the future to buy

Processed Milk subject to that price effect from the Carolina Plants. Not only are these

assumptions speculative, but they ignore that DFA’s acquisition of the Carolina Plants does

not change the concentration of the Processed Milk market or the raw milk market in the

Carolinas. See ECF 1 ¶85.

         Because Plaintiffs’ theory of injury depends upon a “speculative chain of

possibilities” that “does not establish that injury…is certainly impending,” Clapper, 568

U.S. at 414, Plaintiffs’ Complaint should be dismissed.

         B.     Plaintiffs’ Speculative Injuries Are Not Antitrust Injuries.

         In addition to Article III standing, Plaintiffs must establish antitrust standing. 2 See

B-S Steel of Kan. v. Tex. Indus., 439 F.3d 653, 667 (10th Cir. 2006). Antitrust injury is an

“injury of the type the antitrust laws were intended to prevent and that flows from that

which makes the defendants’ acts unlawful”—in other words, injury to competition. HCI

Techs., Inc. v. Avaya, Inc., 241 F. App’x 115, 123 (4th Cir. 2007). Here, Plaintiffs’ claimed




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         Antitrust standing is evaluated under Rule 12(b)(6).


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injuries are speculative, implausible, and not caused by the alleged anticompetitive

behavior.

              1.     MDVA Lacks Antitrust Standing Because It Complains
                     Not of Decreased Competition, But Rather of Increased
                     Competition Following Its Failed Bid.

       Plaintiffs’ Complaint confirms that MDVA is not worried about reduced

competition in the raw milk market; instead it is worried about having to compete with a

more efficient, vertically integrated cooperative in the market where its farmer-members

are located. MDVA has not alleged any plausible facts to suggest it will not be able to

access the non-DFA plants in the Carolinas, or plants farther north or south, including its

own plant in Newport News, Virginia. And the claimed mechanism for potential injury to

Food Lion—higher prices charged by cooperatives such as MDVA for the supply of raw

milk—would inure to the benefit of MDVA, meaning that MDVA has no standing to bring

this suit. See Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 583 (1986)

(competitor cannot claim antitrust injury where allegedly anticompetitive conduct would

have allowed that same competitor to charge supracompetitive prices).

       MDVA also cannot show antitrust injury because its supposed future injury is the

same “injury” it is allegedly experiencing now. It alleges it does not supply the Carolina

Plants, and it is concerned it will not supply them in the future. See ECF 1 ¶¶ 62, 78; see

also Brunswick Corp. v. Pueblo Bowl-O-Mat, Inc., 429 U.S. 477, 487 (1977) (regardless

of whether acquisition violated Section 7, plaintiff did not experience antitrust injury where

same injury could have been caused by lawful conduct). Moreover, for MDVA to



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experience that alleged future injury, speculative independent events would need to occur,

namely, if DFA had not acquired the Carolina Plants, MDVA speculates it would have

obtained a contract to supply these plants in 2021. Such hypothetical injury cannot support

antitrust standing. See Associated Gen. Contractors v. Cal. State Council of Carpenters,

459 U.S. 519, 543 (1983) (considering antitrust standing and relying on finding that

“nothing but speculation informs the [plaintiff’s] claim of injury by reason of the alleged

unlawful” conduct).

       MDVA’s allegations hint at its true concern—that DFA’s vertical integration will

make DFA a more effective competitor for farmer members. See ECF 1 ¶¶116 (“As it

loses members to DFA, MDVA eventually will be significantly weakened…”); 138, 140.

Notably, Plaintiffs do not suggest that any dairy farms will be put out of business. Instead,

they express concern that DFA will become a more attractive option for MDVA’s

members. But that is not the type of harm the antitrust laws were intended to avoid—that

is competition. See Pueblo Bowl-O-Mat, 429 U.S. at 488 (the antitrust laws “were enacted

for the protection of competition, not competitors” (internal quotation marks omitted)

(emphasis in original)).

              2.      Food Lion Lacks Antitrust Standing Because It Has Not
                      Alleged Any Injury of the Type the Antitrust Laws Were
                      Intended to Prevent.

       Food Lion has also failed to allege antitrust injury. Its claimed injury—increased

Processed Milk prices—is just the next step in MDVA’s speculative chain. See ECF 1

¶¶117, 125, 128.



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      Food Lion also fails to allege antitrust injury for a separate reason: its claimed future

injury would not be caused by DFA having any newly acquired power to raise prices

because of the acquisition. See Port Dock & Stone Corp. v. Oldcastle Ne., Inc., 507 F.3d

117, 123 (2d Cir. 2007) (plaintiffs do not have antitrust standing where their “particular

injury was not caused by an exercise of the defendant’s newly acquired power to raise

prices”). Because DFA did not have any processing facilities in the Carolinas region prior

to the acquisition, DFA is simply replacing Dean in the processing market, and will have

the exact same regional market share that Dean had.

      C.     The Complaint Fails to State a Claim Because It Does Not Identify
             any Tangible, Non-Speculative Harm to Competition Caused by
             DFA’s Acquisition of the Carolinas Plants.

      Even apart from standing, Plaintiffs’ speculative injury allegations are fatal to

Plaintiffs’ Section 7 claim because that claim cannot stand on “ephemeral possibilities.”

United States v. Marine Bancorporation, Inc., 418 U.S. 602, 623 (1974).

      When analyzing a merger under the antitrust laws, the courts first determine the

nature of the transaction: horizontal (between competitors); vertical (between companies

at different levels of the supply chain); or conglomerate (between companies that are

neither competitors nor supplier/customer).       The vast majority of antitrust merger

challenges are to horizontal mergers, as some such mergers may create an inference of

anticompetitive effect. See United States v. Phila. Nat’l Bank, 374 U.S. 321, 363 (1963).




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         DFA’s acquisition of three Dean processing facilities in the Carolinas, with which

DFA only had a supplier-customer relationship in the Carolinas, was a vertical transaction. 3

“A vertical merger, unlike a horizontal one, does not eliminate a competing buyer or seller

from the market. It does not, therefore, automatically have an anticompetitive effect or

reduce competition.” Fruehauf Corp. v. FTC., 603 F.2d 345, 351 (2d Cir. 1979) (internal

citations omitted). Vertical mergers are typically viewed as procompetitive because

“vertical mergers create vertical integration efficiencies between purchasers and sellers.”

United States v. AT&T, Inc., 310 F. Supp. 3d 161, 193 (D.D.C. 2018), aff’d, 916 F.3d 1029

(D.C. Cir. 2019) 4; see also Alberta Gas Chems., Ltd. v. E. I. Du Pont de Nemours & Co.,

826 F.2d 1235, 1245 (3d Cir. 1987) (injuries to a competitor caused by a vertical merger

that enabled the buyer to acquire better prices from self-dealing “should not be

compensable under the antitrust law because they do not flow from the anticompetitive

effects of a merger”).

         Therefore, to assert a Section 7 claim, Plaintiffs’ Complaint must allege facts to

support a theory of competitive harm that is probable, not speculative. See Marine



     3
       Plaintiffs’ Complaint makes clear that an acquisition of one of the Carolina Plants
by MDVA would in fact be a horizontal merger of competitors if one considers MDVA’s
Newport News, Virginia plant (see ECF 1 ¶84); as such, it would be subject to close
scrutiny.
     4
       Antitrust agencies seldom litigate vertical merger cases, and when they do, the
agencies typically lose. The only vertical merger case litigated to an outcome by the U.S.
antitrust agencies in the past 40 years was AT&T/Time Warner in 2018—which the
government lost—and before that it was the 1979 Fruehauf/Kelsey-Hayes merger—which
the government also lost. See Fruehauf Corp. v. FTC, 603 F.2d 345, 348 (2d Cir. 1979).


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Bancorp., 418 U.S. at 622-23; Lektro-Vend Corp. v. Vendo Co., 660 F.2d 255, 274 (7th

Cir. 1981) (asserting the standard is a reasonable probability, not mere possibility), cert.

denied, 455 U.S. 921 (1982); Fruehauf, 603 F.2d at 351 (holding that “there must be the

reasonable probability of a substantial impairment of competition…. A mere possibility

will not suffice.”).

       Plaintiffs assert that DFA’s acquisition of the Carolina Plants will harm competition

because it may foreclose possible competition for raw milk sales in 2021. ECF 1 ¶¶78,

101, 104. Without that competition, Plaintiffs contend, DFA will maintain a higher price

for raw milk, resulting in higher prices for Processed Milk. ECF 1 ¶¶106-108; 117. But

Plaintiffs’ theory of harm is nothing more than supposition, as the market has not changed.

DFA was already the supplier to the Carolina Plants (ECF 1 ¶¶62, 78), DFA did not operate

any Processed Milk plants that are located or compete in the Carolinas (ECF 1 ¶72), and

Dean did not compete in the market for raw milk with MDVA and DFA (ECF 1 ¶104).

Whether MDVA would have succeeded in getting an agreement to supply the Carolina

Plants in 2021 is nothing but surmise and speculation. This is insufficient to create the

required “reasonable probability” of anticompetitive harm caused by DFA’s acquisition of

the Carolina Plants.

       Plaintiffs conjure a world where DFA’s acquisition will result in foreclosure of

competing suppliers to the Carolina Plants and allow DFA to strengthen its position in the

raw milk market. ECF 1 ¶116. But as a leading antitrust treatise notes, “many instances

of vertical integration cause injury to upstream or downstream firms who lose a trading



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partner…. Further, this loss can be significant, particularly if the integrating firm accounts

for a large percentage of the independent firm’s sales … Such injuries are certainly injuries-

in-fact ‘caused’ by vertical integration. But they have absolutely nothing to do with any

injury to competition.” Areeda & Hovenkamp, Antitrust Law ¶756a2 (4th ed. 2016). And

as the Second Circuit explained in Fruehauf, the Supreme Court’s Section 7 precedent

“contravenes the notion that a significant level of foreclosure is itself the proscribed

effect…” 603 F.3d at 352.

         Plaintiffs’ own allegations show that DFA’s acquisition of the Carolina Plants will

not result in any foreclosure, much less anticompetitive foreclosure. Accepting as true that

the relevant geographic market is limited to the Carolinas (which, as discussed in further

detail below, is implausible), Plaintiffs allege that DFA’s producers and DFA’s partners’

producers account for 64% of raw milk produced, while MDVA and its partners account

for 36% of raw milk produced. 5 See ECF 1 ¶65, Fig. 2. 6 Plaintiffs allege that the Carolina

Plants account for 59% of processing volume in the Carolinas, and 60.8% of processing

capacity. ECF 1 ¶¶69 (Fig. 3), 70. In other words, whether accounting for volume or




     5
       Plaintiffs seem to arrive at this high market share based on the inclusion of
undisclosed “partner cooperatives.” ECF 1 ¶65. Plaintiffs do not name these “partner
cooperatives,” explain what makes them “partners,” or explain how DFA would exercise
control over the raw milk of other cooperatives.
     6
      Percentages derived from combining milk volume numbers from North Carolina
and South Carolina for each category and comparing DFA and its alleged partners’ share,
then MDVA’s and its partners’ shares, to total volume.


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capacity, MDVA will be able to access roughly 40% of the processing capacity in the

Carolinas at other plants, while only producing 36% of the raw milk in the market.

       Plaintiffs thus undermine and contradict their claim that DFA’s “only purpose” in

purchasing the Dean plant in High Point was the suppression of competition. ECF 1 ¶88.

Even with DFA’s purchase of the three Carolina Plants, DFA still has a smaller percentage

of downstream processing capacity than its alleged percentage of raw milk production in

the Carolinas. DFA’s purchase thus allows continued access to processing facilities for

DFA’s farmer members’ and other farmers’ milk by the continued operation of the plants

and the pro-competitive efficiencies that come with vertical integration.

       Plaintiffs complain of, at most, the normal readjustments following a vertical

merger—not harm to competition as a whole. Plaintiffs vaguely allege that MDVA’s

supply to other processors may not continue because they claim MDVA is at “serious risk”

of losing access to Hunter Farms (ECF 1 ¶74), that MilkCo buys milk elsewhere (as well

as from MDVA) (ECF 1 ¶¶73, 75), and that the Borden plant is not a great fit for MDVA

(despite being in MDVA’s own proposed relevant market) (ECF 1 ¶76). 7 These allegations




       7
         Plaintiffs spin out some other contradictory theories. For example, they allege that
DFA will engage in foreclosure by favoring its own plants and reducing other plants’
access to DFA’s milk. ECF 1 ¶121. But if DFA stopped supplying Hunter Farms, MilkCo,
and Borden with milk, MDVA’s allegations make clear that those processors would need
to turn to MDVA for their supply of raw milk—potentially putting MDVA in a better
position than it was prior to the acquisition. Similarly, Food Lion claims it would be
harmed by reduced competition from MDVA in the raw milk supply market (ECF 1 ¶143),
but if DFA favored its own plants as alleged, any higher prices charged to Food Lion would


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reveal what motivates this lawsuit—MDVA and Food Lion had a business plan that

centered on the acquisition of a plant in the Carolinas from Dean, which was frustrated by

DFA’s acquisition. But a failed bid does not make an antitrust case.

III.    THE FAILING COMPANY DOCTRINE SUPPLIES A COMPLETE
        DEFENSE TO PLAINTIFFS’ SECTION 7 CLAIM.

        The Failing Company Doctrine (“Doctrine”) is “an absolute defense to an action

under Section 7 of the Clayton Act.” California v. Sutter Health Sys., 130 F. Supp. 2d

1109, 1133 (N.D. Cal. 2001). For the Doctrine to apply, a defendant must show that the

acquired corporation “faced the grave probability of a business failure, and further that it

tried and failed to [locate a buyer] other than the acquiring [company].” United States v.

Gen. Dynamics Corp., 415 U.S. 486, 507 (1974) (internal citations, notations, and

quotation marks omitted).      The latter requirement is met where the company has

“conduct[ed] a good faith effort to seek offers from other potential purchasers.” Sutter

Health Sys., 130 F. Supp. 2d at 1136; see also United States v. Culbro Corp., 504 F. Supp.

661, 668 (S.D.N.Y. 1981).

        Courts have held that under the Doctrine “the acquisition of capital stock or assets

of a failing corporation is not within the ban of Section 7 of the Clayton Act.” United

States v. Md. & Va. Milk Producers Assoc., 167 F. Supp. 799, 808 (D.D.C. 1958), aff’d on

other grounds, 362 U.S. 458 (1960). The Doctrine is “a ‘lesser of two evils’ approach, in



likely be because higher prices were being charged by MDVA—and not DFA—to the
processor from which Food Lion purchases its milk.



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which the possible threat to competition resulting from an acquisition is deemed preferable

to the adverse impact on competition and other losses if the company goes out of business.”

Gen. Dynamics Corp., 415 U.S. at 507. In other words, the Doctrine is intended to avoid

the liquidation and piecemeal sale of a corporation’s assets by permitting the sale of the

corporation to a willing buyer, even if the only willing buyer for the entire corporation

happens to be the failing company’s competitor.

       Here, the Bankruptcy Court made factual findings that establish the required

elements of the Doctrine, and this Court may take judicial notice of those findings. See

Witthohn v. Fed. Ins. Co., 164 Fed. App’x 395, 397 (4th Cir. 2006) (in deciding a motion

to dismiss, “a court may consider official public records, documents central to plaintiff’s

claim, and documents sufficiently referred to in the complaint so long as the authenticity

of these documents is not disputed”); see also Granader v. Public Bank, 281 F. Supp. 120,

123 (E.D. Mich. 1967) (estopping the plaintiff from contesting a defendant’s failing

company defense where the two requirements for the application of the defense were

already determined in a state court receivership action to which the plaintiff was a party),

aff’d, 417 F.2d 75, cert. denied, 397 U.S. 1065 (1967).

       A.     Dean Faced a Grave Possibility of Business Failure Absent an
              Acquisition.

       The Bankruptcy Court previously determined that Dean faced a grave possibility of

business failure absent an acquisition—the first condition for the applicability of the

Failing Company Doctrine. The Bankruptcy Court concluded in its Bidding Procedure

order that Dean had “demonstrated a compelling and sound business justification for the


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Court to enter” the bidding procedures that would lead to the sale of Dean’s business

operations or its assets. Mot. at Exhibit H (Bankruptcy Court’s Bidding Procedure Order,

Bankr. Ct. Dkt. ECF 1178), at 3-4, ¶D.

        B.     Dean Made a Good Faith Effort to Seek Other Buyers.

        The Bankruptcy Court also concluded that Dean made a good faith effort to seek

other buyers, finding that other potential buyers had notice of and every opportunity to bid

on the insolvent company. Ex. D (Bankr. Sale Order) at 7-8, ¶¶N, T-X. The court stated

that

        substantial prepetition and post-petition marketing efforts and a competitive
        sale process were conducted and the Debtors (a) afforded all creditors, other
        parties in interest, and all potential purchasers a full, fair, and reasonable
        opportunity to qualify as bidders and submit their highest or otherwise best
        offer(s) to purchase the Acquired Assets, (b) provided potential purchasers,
        upon request, sufficient information to enable them to make an informed
        judgment on whether to bid on the Acquired Assets, and (c) appropriately
        considered all bids submitted.

Id. at 9, ¶U. Yet, as was explained in declarations relied upon by the Bankruptcy Court

(see id. at 3), “[t]he only party that submitted a bid for the vast majority of the Debtors’

plants and related assets was DFA.” Ex. A (Magro Decl.) ¶15.

        The Bankruptcy Court arrived at these conclusions after receiving, considering, and

overruling objections from both Plaintiffs. See Bankr. Ct. Dkt. ECF 1058, 1065, 1406,

1415; Ex. D (Bankr. Sale Order) at 14, ¶1. Plaintiffs were free to appeal the Bankruptcy

Court’s order; they did not, and pursuant to Bankruptcy Rule 8002(a), the order became

non-appealable on April 19, 2020. Fed. R. Bankr. P. 8002(a). Plaintiffs, having been heard

in full in the bankruptcy case, cannot now challenge rulings on the same critical issues


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resolved in the underlying bankruptcy proceeding that they did not appeal. In light of this,

the Court should hold that the Failing Firm Doctrine applies, and Plaintiffs’ Section 7 claim

should be dismissed.

IV.    THE COMPLAINT FAILS TO STATE A CLAIM BECAUSE ITS
       ALLEGED GEOGRAPHIC MARKET IS IMPLAUSIBLE AND
       CANNOT SUPPORT PLAINTIFFS’ SECTION 7 OR SECTION 2
       CLAIM.

       To state a claim under Section 7 of the Clayton Act or Section 2 of the Sherman

Act, a plaintiff must plead a plausible relevant market, which includes a relevant product

market and a relevant geographic market. See Downeast Builders & Realty, Inc. v. Essex

Homes Se., Inc., No. 3:11-cv-02653-CMC, 2012 U.S. Dist. LEXIS 91764, at *8 (D.S.C.

July 3, 2012) (Section 2 claim); Shred-It Am., Inc. v. Macnaughton, No. 10-00547 DAE-

KSC, 2011 U.S. Dist. LEXIS 51933, at *15 (D. Haw. May 13, 2011) (Section 7 claim).

The relevant geographic market is “the geographic area in which consumers can practically

seek alternative sources of the product, and it can be defined as ‘the market area in which

the seller operates.’” Little Rock Cardiology Clinic, P.A. v. Baptist Health, 573 F. Supp.

2d 1125, 1148 (E.D. Ark. 2008) (quoting Double D Spotting Serv. v. Supervalu, Inc., 136

F.3d 554, 560 (8th Cir. 1998)). “A geographic market is determined not by where

consumers actually go for a particular product or service, but rather by where they could

go should the defendants’ prices become anticompetitive.” Id. (internal quotation marks

omitted) (emphasis in original).

       Courts dismiss complaints for failure to state a claim where the alleged relevant

geographic market’s narrowness ignores geographic and commercial realities. See, e.g.,


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Little Rock Cardiology Clinic, 573 F. Supp. 2d at 1148 (“[C]ourts have not hesitated to

dismiss antitrust claims where it is clear that the alleged geographic market is too narrow

or implausible.”); Davies v. Genesis Med. Ctr., 994 F. Supp. 1078, 1101 (S.D. Iowa 1998)

(dismissing antitrust claims because narrow geographic market contradicted reasonable

inference). Here, Plaintiffs’ claims fail because their alleged geographic market of North

and South Carolina is implausible and directly conflicts with Plaintiffs’ own allegations.

See ECF 1 ¶21.

         A.     Plaintiffs’ Relevant Geographic Market Is Implausible in Light of
                the Facts Pleaded by Plaintiffs and Plaintiffs’ Own Dairy
                Operations.

         Plaintiffs’ alleged market of North and South Carolina flies in the face of geography,

commercial realities, and Plaintiffs’ own allegations. Plaintiffs argue that North and South

Carolina are isolated by “the Atlantic Ocean to the East and the Appalachian Mountains to

the West.” ECF 1 ¶23. Plaintiffs provide no reason that milk cannot move north and

south—indeed, it is common for raw and Processed Milk to be moved from Virginia to

South Carolina, or from North Carolina or South Carolina to Georgia.

         The movement of milk beyond the Carolinas is consistent with the Federal Milk

Marketing Order system. 8 According to the U.S. Department of Agriculture (“USDA”),

“[a] marketing area”—or Order—“is generally defined as a geographic area where handlers



     8
       The Federal Milk Marketing Order system exists pursuant to the Agricultural
Marketing Agreement Act of 1937. See Block v. Cmty. Nutrition Inst., 467 U.S. 340, 341
(1984). The system was designed to bring milk producers’ “destabilizing competition
under control.” Id.


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compete for packaged [processed] fluid milk sales, although other factors may be taken

into account when determining the boundaries of a marketing area.” Mot. at Exhibit I

(“Federal Milk Marketing Order” print-out from USDA website). As Plaintiffs

acknowledge, North and South Carolina are in Order 5 under that system (ECF 1 ¶14),

along with portions of Virginia, West Virginia, Kentucky, Tennessee, Indiana, and

Georgia. See 7 C.F.R. § 1005.2 (listing counties and cities included in Order 5)

      Buyers consider areas outside the Carolinas to be an alternative source for Processed

Milk. Indeed, Plaintiffs allege that when unhappy with prices within the Carolinas, Food

Lion turned to MDVA’s plant in Virginia for its Processed Milk, suggesting that some or

all of Virginia must be in the relevant geographic market. ECF 1 ¶5.

      On the raw milk side, Plaintiffs offer no support for the proposition that dairy

processors cannot buy raw milk from outside the Carolinas. The entire area is federally

regulated, and raw milk is commonly shipped from Virginia, Maryland, Pennsylvania, and

other states into the Carolinas for processing. The borders of North and South Carolina

have no bearing when it comes to shipping raw milk, and Plaintiffs allege no facts to the

contrary.

      B.     Plaintiffs’ Assertions Directly Contradict Food Lion’s Previous
             Positions.

      Contrary to the Complaint, Food Lion previously argued that the “relevant

geographic market for the sale of processed milk is the ‘Southeast,’ which they define as

the geographic area within Federal Milk Marketing Orders 5 and 7. These Orders cover




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all or part of 14 states 9….” See Food Lion, LLC v. Dean Foods Co. (In re Se. Milk Antitrust

Litig.), 730 F. Supp. 2d 804, 822 (E.D. Tenn. 2010).

         In the Southeastern Milk Antitrust Litigation, Food Lion’s expert claimed that the

relevant geographic market for a Section 2 claim extended beyond North and South

Carolina to include Georgia, Virginia, and the eastern part of Tennessee. Food Lion, LLC

v. Dean Foods (In re Se. Milk Antitrust Litig.), No. 2:07-CV 188, 2012 U.S. Dist. LEXIS

37650, at *31 (E.D. Tenn. Mar. 20, 2012). He claimed to have looked “at regions where

Dean Foods sells, and Food Lion buys, processed milk.” In re Se. Milk Antitrust Litig.,

739 F.3d 262, 278 (6th Cir. 2014); see also Food Lion, LLC, 2012 U.S. Dist. LEXIS 37650,

at *50. Further, he claimed to have “relied on estimates of transportation costs and

elasticity of demand.” In re Se. Milk Antitrust Litig., 739 F.3d at 278; see also Food Lion,

LLC, 2012 U.S. Dist. LEXIS 37650, at *33. Given Food Lion’s prior position, it seems

insincere for Food Lion to now join MDVA to argue in the present action that the relevant

market for raw milk and Processed Milk is limited to North and South Carolina.

                                      CONCLUSION

         For the foregoing reasons, the Complaint should be dismissed.

                                               Respectfully submitted,


                                                 /s/ Brent F. Powell
                                               James P. Cooney III
                                               N.C. State Bar No. 12140
                                               Sarah Motley Stone
     9
      North Carolina, South Carolina, Georgia, Indiana, Kentucky, Tennessee, Virginia,
West Virginia, Alabama, Arkansas, Mississippi, Louisiana, Florida and Missouri.


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                           WORD COUNT CERTIFICATION

       This is to certify that the foregoing document complies with the word count limit

set forth in L.R. 7.3(d)(1).


                                               /s/ Brent F. Powell
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